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 4                           UNITED STATES DISTRICT COURT
 5                                  DISTRICT OF NEVADA
 6
     KEISHAWN CRANFORD,
 7                                                     Case No.: 2:17-cv-02643-APG-NJK
           Plaintiff(s),
 8                                                                   ORDER
     v.
 9                                                               [Docket No. 46]
     STATE OF NEVADA, et al.,
10
           Defendant(s).
11
12        Pending before the Court is Defendants’ motion to reschedule the settlement conference.
13 Docket No. 46. A settlement conference is currently set on November 19, 2020. See Docket No.
14 45. For good cause shown, Defendants’ motion is GRANTED. The settlement conference is
15 CONTINUED to 8:30 a.m. on December 10, 2020.             The parties must submit settlement
16 conference statements as instructed in the Court’s order at Docket No. 39 by 3:00 p.m. on
17 December 3, 2020. Defendants must arrange for Plaintiff’s virtual presence at the settlement
18 conference.
19        IT IS SO ORDERED.
20        Dated: November 9, 2020
21                                                          ______________________________
                                                            Nancy J. Koppe
22                                                          United States Magistrate Judge
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